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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

Case No. SACR 19-00047-JLS Date August 19, 2021

 

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

Interpreter None

 

Mark Takla - Not Present

Melissa Kunig Not Reported William Rollins - Not Present
Annamartine Salick — Not Present
Deputy Clerk Court Reporter/Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Custody Bond Attorneys for Defendants: Present App. Ret.

Amy Karlin (DFPD) Not X
Jason Hannan (DFPD) Not X

Stephen William Beal Not X Joseph Trigilio (DFPD) Not X
Michael Schachter Not xX
(DFPD)

PROCEEDINGS: (INCHAMBERS) NOTICE THAT COURT RECEIVED SUBPOENED ITEMS

On August 12, 2021 the Court received subpoenaed items from Santa Ana Police Department.

Unless a protective order is in place, interested parties may inspect and/or copy the
subpoenaed items before commencement of the trial or other contested proceeding. A request to
inspect and/or copy the subpoenaed items should be made to the courtroom deputy clerk, Melissa
Kunig (JLS_Chambers@cacd.uscourts.gov).

To protect sensitive information, subpoenas seeking items that are expected to contain such
sensitive information should be requested in an under seal subpoena. Alternatively a protective
order should be sought to protect the items after they are produced.

Unless otherwise ordered, subpoenaed items shall be returned to the attorney or party who
requested issuance of the subpoena at the conclusion of the trial, contested proceeding, or upon any
pretrial disposition of the case.

 

Initials of Deputy Clerk mku

 

cc:

 

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